Case
 Case1:14-ml-02570-RLY-TAB
      1:14-ml-02570-RLY-TAB Document
                             Document22328-1
                                      22518 Filed
                                             Filed08/10/22
                                                   07/08/22 Page
                                                             Page11ofof44PageID
                                                                          PageID#:#:
                                   132276
                                   132824



                    IN THE UNITED STATES DISTRICT COURT
                        SOUTHERN DISTRICT OF INDIANA
                            INDIANAPOLIS DIVISION
 __________________________________________
 IN RE: COOK MEDICAL, INC, IVC FILTERS
 MARKETING, SALES PRACTICES AND                Master Case No. 1:14-ml-2570-RLY-TAB
 PRODUCTS LIABILITY LITIGATION                 MDL No. 2570
 __________________________________________

 This Document Relates to:
 Plaintiffs listed in Exhibit A




         Considering the parties’ Stipulated Dismissal with Prejudice:

         IT IS HEREBY ORDERED, ADJUDGED AND DECLARED that all claims of

 Plaintiff(s) against the Cook Defendants in this Action are hereby dismissed with prejudice. The

 Complaint of Plaintiffs’ listed in Exhibit A attached hereto are hereby dismissed in entirety, with

 prejudice. Each party shall bear its own costs.

 Signed this
  SO ORDERED        dayday
             this 10th  of of August 2022.                    , 20           .




                                               HONORABLE RICHARD L. YOUNG
                                               UNITED STATES DISTRICT JUDGE
                                               SOUTHERN DISTRICT OF INDIANA

   Distributed Electronically to Registered Counsel of Record




 US.350911775.01
Case
 Case1:14-ml-02570-RLY-TAB
      1:14-ml-02570-RLY-TAB Document
                             Document22328-1
                                      22518 Filed
                                             Filed08/10/22
                                                   07/08/22 Page
                                                             Page22ofof44PageID
                                                                          PageID#:#:
                                   132277
                                   132825



                                    EXHIBIT A
                   Plaintiff Name            Filing No.
                   Jeffrey, Rico             1:16-cv-00190
                   Dotsy, Tanesha            1:16-cv-00219
                   Holcomb, Richard K.       1:16-cv-00220
                   Kirk, Billy J.            1:16-cv-00250
                   Lawson, Patricia Jean     1:16-cv-01951
                   Harrelson, William J.     1:17-cv-01918
                   Harris, John W.           1:17-cv-01919
                   Hewett, Kimberly A.       1:17-cv-01922
                   Hiser, Patricia           1:17-cv-01924
                   Horhn, Johnnie L.         1:17-cv-01935
                   Howard, Elaine Y.         1:17-cv-01936
                   Hubert, George F.         1:17-cv-01939
                   Killeen, Jacqueline       1:17-cv-01946
                   Kinney, Tiffany L.        1:17-cv-01947
                   Kirkwood, Kevin A.        1:17-cv-01948
                   Lawson, Karen D.          1:17-cv-01950
                   Hadley, Douglas V.        1:17-cv-02063
                   Hairston, Marlene L.      1:17-cv-02064
                   Kroner, Harold            1:17-cv-02159
                   Haines, Thomas C.         1:17-cv-03161
                   Hill, Rodney H.           1:17-cv-03162
                   Hooks, Alice F.           1:17-cv-03165
                   Jackson, Linda M.         1:17-cv-03166
                   Johns, Kevin L.           1:17-cv-03167
                   Guthrie, David P. Jr.     1:17-cv-03454
                   Howard, Maurice G.        1:17-cv-03738
                   Kemokai, Musu             1:17-cv-03769
                   Hudson, Robert A.         1:17-cv-03778
                   Hughes, Barbara L.        1:17-cv-03787
                   Kiselica, Enver           1:17-cv-03800
                   King, Dorothy V.          1:17-cv-03810
                   King, Charisse            1:17-cv-03841
                   LaRue, Joshua             1:17-cv-03846
                   Johnson, Tiffany L.       1:17-cv-03897
                   Lambert, Sue E.           1:17-cv-03905
                   Lambert, Johnnie R.       1:17-cv-03929
                   Horton, Teresa            1:17-cv-03930
                   Hale, Michael             1:17-cv-04052


 US.350911775.01
Case
 Case1:14-ml-02570-RLY-TAB
      1:14-ml-02570-RLY-TAB Document
                             Document22328-1
                                      22518 Filed
                                             Filed08/10/22
                                                   07/08/22 Page
                                                             Page33ofof44PageID
                                                                          PageID#:#:
                                   132278
                                   132826



                   Keenan, Carol              1:17-cv-04118
                   Hensley, Kay M.            1:17-cv-04120
                   Hawk, Derek A.             1:17-cv-04134
                   Heinzel, Kurt W.           1:17-cv-04178
                   Hillard, Lewis E.          1:17-cv-04188
                   Harris, Charlie M.         1:17-cv-04224
                   Jones, Alicia M.           1:17-cv-04226
                   Hamersly, Timothy M.       1:17-cv-04235
                   Kelly-Hall, Cynthia T.     1:17-cv-04258
                   Kleinschmidt, Timothy A.   1:17-cv-04259
                   Jackson, Ida H.            1:17-cv-04280
                   Haag, Marilyn              1:17-cv-04284
                   Hanon, Robert E.           1:17-cv-04289
                   Hollis, Eddie C.           1:17-cv-04290
                   Killian, Marilyn E.        1:17-cv-04447
                   Guglielmoni, Brett         1:18-cv-00661
                   Jones, Joann               1:18-cv-00664
                   Hannon, Nerissa            1:18-cv-00709
                   Harkleroad, David          1:18-cv-00710
                   Hauk, Jamie                1:18-cv-00712
                   Holder, Christi M.         1:18-cv-00713
                   Hornsby, Angela            1:18-cv-00714
                   Hutchinson, Ricky          1:18-cv-00742
                   Johnson, Pamela            1:18-cv-00744
                   Lafferty, Deborah          1:18-cv-00935
                   Lara, Joann                1:18-cv-01439
                   Hensley, Deborah           1:18-cv-03888
                   Hauck, Louis               1:19-cv-01331
                   Guillen, Arturo E.         1:19-cv-01627
                   Hern, William              1:19-cv-01652
                   Harper, James G.           1:19-cv-01713
                   Hollman, Ilene             1:19-cv-01722
                   Gunn, Willie Lee           1:19-cv-01814
                   Hobson, Issac Lee          1:19-cv-02095
                   Klimke, Donald W.          1:19-cv-02534
                   Henderson, Cornelius       1:19-cv-02538
                   Ketner, Brian Joseph       1:19-cv-02600
                   Harvey, Darin              1:19-cv-02642
                   Landis, Elizabeth Hilda    1:19-cv-02645
                   Kilbury, Candace           1:19-cv-02746
                   King, Larry Allan          1:19-cv-02766


 US.350911775.01
Case
 Case1:14-ml-02570-RLY-TAB
      1:14-ml-02570-RLY-TAB Document
                             Document22328-1
                                      22518 Filed
                                             Filed08/10/22
                                                   07/08/22 Page
                                                             Page44ofof44PageID
                                                                          PageID#:#:
                                   132279
                                   132827



                   Harms, Arthur              1:19-cv-02774
                   Hunter, Jack Edwin         1:19-cv-02886
                   Keaton, Charles Joe        1:19-cv-03058
                   Johnson, Darrin B.         1:19-cv-03212
                   Hayes, Wanda M.            1:19-cv-03239
                   Hunter, Richard Stewart    1:19-cv-03241
                   Hamer, Glenna O.           1:19-cv-03306
                   Gulley, Hubert Glen        1:19-cv-03359
                   Jones, Renea L.            1:19-cv-03362
                   Hohman, Richard Gene       1:19-cv-03380
                   Johnson, Andra D.          1:19-cv-03430
                   Jerd, John Douglas         1:19-cv-03529
                   Houlton, Goldie            1:19-cv-03624
                   Johnson, Jennifer Ann      1:19-cv-03746
                   Jones, Micaela             1:19-cv-04736
                   Hanson, Terrence Mylen     1:19-cv-04862
                   Jenkins, Leverne Charman   1:20-cv-00500
                   Hinson, Sarah Elizabeth    1:20-cv-00503
                   Jones, Merrel              1:20-cv-00692
                   Hannan, Douglas Paul       1:20-cv-02638
                   Kirk, Marilynn             1:20-cv-03243




 US.350911775.01
